Case 2:04-cr-20101-SH|\/| Document 75 Filed 06/10/05 Page 1 of 2 Page|D 84

IN THE UNITED sTATEs DISTRICT CoURT F”-ED B`f )@U D.r;
FoR THE wESTERN DISTRICT oF TENNESSEE

 

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UNITED sTATEs oF AMERICA, CLEH><,IF.Y.S. otis{.i{“!"e

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W.D. o-F~ m, mmc-§§

VS. NO. 04-20101-Ma

DALE ELMORE ,

Defendant.

 

ORDER RESET'I‘ING SEN’I‘ENCING DA'I'E

 

Before the Court is the &efendant's June 8, 2005, motion to
reset the sentencing of Dale Elmore, which is presently set for
June 10, 2005. Counsel for the government does not object. For
good cause shown, the motion is granted. The sentencing of
defendant Dale ELMORE is reset to Friday, June 17, 2005, at 1:30

p.m.

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It is so ORDERED this l A;day of June, 2005.

JAW“L

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

